         Case 1:19-cv-02669-VM-KNF Document 54 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
COSMOPOLITAN INTERIOR NY CORPORATION, :
                                                                      :
                              Plaintiff,                              :
                                                                      :           ORDER
                    -against-                                         :
                                                                      :     19-CV-2669 (VM)(KNF)
DISTRICT COUNCIL 9 INTERNATIONAL UNION                                :
OF PAINTERS AND ALLIED TRADES,                                        :                    :
                                                                      :
                              Defendant.                              :
-----------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         A telephone conference will be held with the parties on October 27, 2020, at 10:00 a.m. The

parties are directed to call (888) 557-8511 and, thereafter, enter access code 4862532. Please be

advised that a court reporter will attend the conference via telephone.

Dated: New York, New York                                           SO ORDERED:
       October 21, 2020
